            Case 2:21-cr-00048-RAJ             Document 10     Filed 10/06/22    Page 1 of 2




 1                                                               The Honorable Brian A. Tsuchida

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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
10
     UNITED STATES OF AMERICA,                                NO. CR21-048 RAJ
11
                               Plaintiff
12
                                                              [PROPOSED] ORDER ISSUING
13
                         v.                                   CORRECTED ARREST WARRANT
14
     TILL KOTTMAN,
15
                               Defendant.
16
17          An Indictment having been returned against the above-named defendant on March
18 18, 2021, and good cause having been found to correct the arrest warrant issued on that
19 date at ECF No. 6, based on the Government’s Motion to Correct Arrest Warrant,
20          IT IS ORDERED that a corrected arrest warrant shall be issued adding the
21 following language to the list of offenses: “Count 8: Title 18, United States Code,
22 Sections 1028A(a) and 2 – Aggravated Identity Theft.”
23          DATED this                day of October, 2022.
24
25
                                                         BRIAN A. TSUCHIDA
26                                                       U.S. MAGISTRATE JUDGE
27
     Order to Correct Arrest Warrant - 1                               UNITED STATES ATTORNEY
     United States v. Till Kottman/ CR21-048 RAJ                      700 STEWART STREET, SUITE 5220
                                                                        SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
            Case 2:21-cr-00048-RAJ             Document 10   Filed 10/06/22    Page 2 of 2




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     Presented by:
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  s/ Miriam R. Hinman
4 MIRIAM R. HINMAN
5 Assistant United States Attorney
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     Order to Correct Arrest Warrant - 2                             UNITED STATES ATTORNEY
     United States v. Till Kottman/ CR21-048 RAJ                    700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
